       Case 1:17-cv-00534-LJV-LGF Document 33 Filed 04/13/18 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                                             FOR THE
                          WESTERN DISTRICT OF NEW YORK



 TURF NATION, INC.,

                        Plaintiff,               Civil Action No.: 1:17-CIV-00534-LJV-LGF

                        v.
                                                              STIPULATION
 PLATTE RIVER INSURANCE                                 OF DISCONTINUANCE WITH
 COMPANY,                                                      PREJUDICE

                        Defendant.



       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned, the

attorneys of record for all parties appearing in the above-captioned action, that said action is and

shall be discontinued with prejudice, and that without further notice this stipulation can be e-filed

with the Clerk of the United States District Court for the Western District of New York.

Dated: April 13, 2018
       Rochester, NY


REEVE BROWN PLLC                                      ALSTON & BIRD, LLP

/s/ C. Allan Reeve                                    /s/ Thomas P. Clinkscales
        C. Allan Reeve, Esq.                          Thomas P. Clinkscales, Esq., Pro Hac Vice
3380 Monroe Ave, Suite 200                            One Atlantic Center,
Rochester, New York 14618                             1201 W. Peachtree St.
Tel. (585) 287-5275                                   Atlanta, Georgia 30309
careeve@reevebrownlaw.com                             Tel. (404) 881-4941
                                                      tomclinkscales@alston.com

                                                      ATTORNEYS FOR PLAINTIFF
                                                      Turf Nation, Inc.
       Case 1:17-cv-00534-LJV-LGF Document 33 Filed 04/13/18 Page 2 of 2



McELROY, DEUTSCH, MULVANEY
  & CARPENTER, LLP

/s/ Theodore M. Baum
        Theodore M. Baum
McElroy, Deutsch, Mulvaney & Carpenter, LLP
820 Bausch and Lomb Place
Rochester, NY 14604
Tel. (585) 623-4290
tbaum@mdmc-law.com

ATTORNEYS FOR DEFENDANT
Platte River Insurance Company




   -                                   2
